Case: 20-11329 Doc: 22 Filed: 05/29/20 Page: 1 of 2

 
  

UNITED STATES BANKRUPTCY COURT F | LE D
WESTERN DISTRICT OF OKLAHOMA MAY 2 9 2020
IN RE: ) WGLAS E, WEDGE
) General Order 20-6! eet gE NKR ON COUT
CONDUCTING HEARINGS ) (Third Amended) BY: DEPUTY

TELEPHONICALLY AND OPERATIONS )
UPDATE IN RESPONSE TO COVID-19 _ )

On March 18, 2020, the Court entered this General Order 20-6 providing that, because of
COVID-19, all hearings will be conducted telephonically until further order of the Court. The
COVID-19 situation continues to evolve, and the Court is amending this General Order 20-6 to
provide that not all hearings will be conducted telephonically. Some hearings may be held in
person at the courthouse; others may be held telephonically; and others may be held by video
conference. The Court will provide notice for every hearing, and the notice will specify whether
the hearing will be held in-person at the courthouse, by phone, or by video conference.

Contact information for telephonic hearings remains the same. These hearings will be held
via AT&T call-in numbers. Dial-in numbers and access codes for each judge are listed on the
Court’s website, www.okwb.uscourts.gov under the “Judges’ Information” tab. For hearings with
Chief Judge Janice D. Loyd, call-in information is as follows:

Phone Number: 888-684-8852

Access Code: 3396906

For hearings with Judge Sarah A. Hall, call-in information is as follows:

 

Phone Number: 866-590-5055
Access Code: 4489321
1 Genera! Order 20-6 was entered on March 18, 2020. It was amended on March 24, 2020 to include call-in

information for hearings with Judge Sarah A. Hall. The second amendment on April 1, 2020, extended the period for
telephonic hearings until further order of the Court. This third amendment updates that hearings may be held in-
person, telephonically, or by video conference.
Case: 20-11329 Doc: 22 Filed: 05/29/20 Page: 2 of 2

All counsel and parties are directed (1) that all participants shall mute the phone when it is
not their case, (2) that no participant shall use a “speaker” function, and (3) that no participant shall
place the call on hold (in order for the Court and other participants to avoid hearing hold music or
other noises that detract from the proceeding and audio recording of same).

This Order does not affect the Court’s consideration of matters that can be resolved without
oral argument.

The Courthouse remains open, but the Clerk’s Office intake counter is closed. Staff in the
Clerk’s Office will be available by telephone, mail will be received and timely processed, and
filings may be deposited in the drop box outside the Clerk’s Office for timely processing.
Electronic filings may still be made through the CM/ECF system. The public is encouraged to
continue using Court services while following all applicable public health guidelines.

SO ORDERED this 29th day of May, 2020.

s/Janice D. Loyd
JANICE D. LOYD
CHIEF U.S. BANKRUPTCY JUDGE
